
700 S.E.2d 925 (2010)
Helen K. SPERRY, Plaintiff
v.
KOURY CORPORATION, Employer-Defendant, and
Selective Insurance Company, Carrier-Defendant.
No. 78P10.
Supreme Court of North Carolina.
August 26, 2010.
Kathleen G. Sumner, Greensboro, for Helen Sperry.
Bradley H. Smith, Charlotte, for Koury Corporation, et al.

ORDER
Upon consideration of the petition filed on the 22nd of February 2010 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of August 2010."
